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                      Entered on Docket
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             ___________________________________________________________________
                 May 17, 2021
                      6   LEE HIGH, LTD.
                      7   Elizabeth High, Esq.
                          Nevada Bar No. 10082
                      8   448 Ridge Street
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                     10

                     11   Attorneys for Interested Party
                          Jefferson Loflin
                     12
                                                      UNITED STATES BANKRUPTCY COURT
                     13
                                                           FOR THE DISTRICT OF NEVADA
                     14

                     15   In re:                                               Case No. BK-S-19-14796-MKN

                     16            GYPSUM RESOURCES                            Jointly Administered with
                                   MATERIALS, LLC,                             Case No. BK-S-19-14799-MKN
                     17

                     18            Ƒ Affects Gypsum Resources Materials, LLC   Chapter 11 Case

                     19
                                   Ƒ Affects Gypsum Resources, LLC             ORDER APPROVING STIPULATION
                                   x Affects all Debtors                       FOR RELIEF FROM THE AUTOMATIC
                     20                                                        STAY
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                     23             The Court, having reviewed and considered the Stipulation For Relief From The Automatic

                     24   Stay (“Stipulation”),1 made by and between Gypsum Resources Materials, LLC and Gypsum

                     25   Resources, LLC (collectively, “Debtors”), by and through their counsel, Brett A. Alexrod, Esq., Fox

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                            All capitalized words and phrases not otherwise defined hearing shall have the meanings given
                     28   to them in the Stipulation.
  LEE HIGH, LTD.
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                          Case 19-14796-mkn        Doc 1276      Entered 05/17/21 08:33:59        Page 2 of 2


                      1   Rothschild, LLP, and interested party Jefferson Loflin (“Loflin”), by and through his counsel, Lee
                      2   High Ltd., to terminate the automatic stay and waive claims against the Debtors’ bankruptcy estates,
                      3   and for good cause appearing:
                      4          IT IS HEREBY ORDERED that the Stipulation is APPROVED in its entirety.
                      5          IT IS HEREBY FURTHER ORDERED that the automatic stay pursuant to 11 U.S.C. §
                      6   362(a) shall be terminated for the purpose of allowing Loflin to propound discovery on the Debtors
                      7   to assist him with his claims against Kosey in the State Court Case.
                      8          IT IS HEREBY FURTHER ORDERED that Loflin’s claims against the Bankruptcy Estate
                      9   are zero.
                     10          IT IS HEREBY FURTHER ORDERED that nothing in this Stipulation shall prevent Loflin
                     11   from pursuing his worker’s compensation claims outside of the Debtor’s Bankruptcy Estate.
                     12          IT IS SO ORDERED.
                     13
                          Respectfully submitted by:
                     14
                          LEE HIGH LTD.
                     15

                     16
                          By: /s/ Elizabeth A. High, Esq.
                     17   ELIZABETH A. HIGH, ESQ.
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                     20   Attorneys for Interested Party
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